
PER CURIAM.
The single point presented on this appeal after defendant was found guilty by a jury of robbery, adjudicated guilty and sentenced to life imprisonment is that the trial court erred in denying defendant the right to comment on his codefendant’s failure to take the stand at the trial. Appellant at no time asked for a severance, and his claim of a right to comment upon his codefend-ant’s failure to testify came at the end of the trial.
Under these circumstances, no error is presented because to have allowed the comment would have required a mistrial for appellant’s codefendant. Cf. Griffin v. California, 380 U.S. 609, 85 S.Ct. 1229, 14 L.Ed.2d 106 (1965).
Affirmed.
